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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

                                                                     )
In re:                                                               ) Chapter 11
                                                                     )
IHEARTMEDIA, INC., et al., 1                                         ) Case No. 18-31274 (MI)
                                                                     )
                           Debtors.                                  ) (Jointly Administered)
                                                                     )

             MOTION OF THE OFFICIAL COMMITTEE OF UNSECURED
           CREDITORS OF IHEARTMEDIA, INC., ET AL. FOR ENTRY OF AN
         ORDER CLARIFYING THE REQUIREMENT TO PROVIDE ACCESS TO
         CONFIDENTIAL OR PRIVILEGED INFORMATION AND APPROVING A
         PROTOCOL REGARDING CREDITOR REQUESTS FOR INFORMATION

         THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU.
         IF YOU OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT
         THE MOVING PARTY TO RESOLVE THE DISPUTE. IF YOU AND THE
         MOVING PARTY CANNOT AGREE, YOU MUST FILE A RESPONSE AND
         SEND A COPY TO THE MOVING PARTY. YOU MUST FILE AND SERVE
         YOUR RESPONSE WITHIN 21 DAYS OF THE DATE THIS WAS SERVED ON
         YOU. YOUR RESPONSE MUST STATE WHY THE MOTION SHOULD NOT
         BE GRANTED. IF YOU DO NOT FILE A TIMELY RESPONSE, THE RELIEF
         MAY BE GRANTED WITHOUT FURTHER NOTICE TO YOU. IF YOU
         OPPOSE THE MOTION AND HAVE NOT REACHED AN AGREEMENT, YOU
         MUST ATTEND THE HEARING.        UNLESS THE PARTIES AGREE
         OTHERWISE, THE COURT MAY CONSIDER EVIDENCE AT THE HEARING
         AND MAY DECIDE THE MOTION AT THE HEARING.
         REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.
         A HEARING WILL BE HELD ON THIS MATTER ON MAY 30, 2018, AT 10:00
         A.M. (CT) BEFORE THE HONORABLE MARVIN ISGUR, 515 RUSK STREET,
         COURTROOM 404, HOUSTON, TEXAS 77002.




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    Due to the large number of Debtors in these chapter 11 cases, for which joint administration has been granted, a
    complete list of the Debtors and the last four digits of their tax identification, registration, or like numbers is not
    provided herein. A complete list of such information may be obtained on the website of the Debtors’ claims
    and noticing agent at https://cases.primeclerk.com/iheartmedia.
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       The Official Committee of Unsecured Creditors (the “Committee”) of iHeartMedia, Inc.

and its affiliated debtors and debtors in possession (collectively, the “Debtors”), by and through

its undersigned proposed counsel, hereby moves, pursuant to sections 105(a), 107(b), and

1102(b)(3)(A) of title 11 of the United States Code (the “Bankruptcy Code”) and Rule 9018 of

the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), for entry of an order,

substantially in the form attached hereto as Exhibit A (the “Proposed Order”), clarifying the

requirements of the Committee to provide access to confidential or privileged information to

creditors and approving a protocol regarding creditor requests for information (the “Motion”). In

support of the Motion, the Committee respectfully states as follows:

                                JURISDICTION AND VENUE

       1.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. §1334 and the

Order of Reference to Bankruptcy Judges (District Court General Order 2012-6), dated May 24,

2012 (the “Standing Order”).

       2.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       3.      The legal bases for the relief requested herein are Bankruptcy Code sections

105(a), 107(b), and 1102(b)(3)(A) and (B) and Bankruptcy Rule 9018.

                                       BACKGROUND

       4.      On March 14, 2018, each of the Debtors filed a voluntary petition for relief under

chapter 11 of the Bankruptcy Code. The Debtors are operating their businesses and managing

their properties as debtors in possession pursuant to Bankruptcy Code sections 1107(a) and 1108.

These chapter 11 cases have been consolidated for procedural purposes only and are being

jointly administered pursuant to Bankruptcy Rule 1015(b) [Docket No. 76].

       5.      On March 21, 2018 (the “Committee Formation Date”), the United States Trustee

for the Southern District of Texas (the “U.S. Trustee”) appointed the Committee pursuant to

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Bankruptcy Code section 1102 [Docket No. 244].                     The Committee currently consists of:

(i) Delaware Trust Company, as indenture trustee; (ii) Wilmington Savings Fund Society, FSB,

as indenture trustee; (iii) the Nielsen Company (US), LLC; (iv) SoundExchange, Inc; (v) Warner

Music Inc.; (vi) Spotify USA, Inc.; and (vii) Univision Communications, Inc.

        6.         Before filing this Motion, each member of the Committee, and each of the

Committee’s proposed professionals (collectively, the “Committee Professionals”) 2 entered into

confidentiality agreements with the Debtors that, among other things, govern the use and

disclosure of non-public information provided to the Committee by or on behalf of the Debtors

(the “Confidential Debtor Information”).

        7.         The Committee also has adopted by-laws, which contain numerous provisions

designed     to,    among     other    things,    protect    confidential     information,      materials,    and

communications produced by or related to the Committee, its members, and its professionals, as

well as privileged information (collectively, the “Confidential Committee Information”).

Confidential Committee Information includes any and all written and oral correspondence,

reports, and memoranda prepared by the Committee Professionals for the benefit of the

Committee as well as all related communications received by any of the members of the

Committee, including reports disseminated by Committee members among themselves and/or

the Committee Professionals.

                                          RELIEF REQUESTED

        8.         Pursuant to this Motion, the Committee requests entry of the Proposed Order,

effective as of the Committee Formation Date, authorizing the Committee to establish and


2
    On March 26, 2018, the Committee selected Akin Gump Strauss Hauer & Feld LLP and FTI Consulting, Inc.,
    as its counsel and financial advisor, respectively, subject to Court approval. On March 30, 2018, the Committee
    selected Jefferies LLC as its investment banker, subject to Court approval.


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implement a protocol (the “Creditor Information Protocol”) in accordance with Bankruptcy Code

sections 1102(b)(3)(A) and (B) to facilitate the Committee’s obligation to provide information to

the Debtors’ unsecured creditor constituency.

        9.      Additionally, the Committee seeks express authority to maintain a website for the

benefit of the Debtors’ creditors. 3 This website will be used to make non-confidential and

non-privileged information available to the Debtors’ unsecured creditors that is either not

otherwise readily available or that the Committee determines should be further highlighted for

unsecured creditors.

                                 BASIS FOR RELIEF REQUESTED

        10.     Bankruptcy Code section 1102(b)(3) provides, in relevant part, that a creditors’

committee appointed under Bankruptcy Code section 1102(a) shall “provide access to

information for creditors who (i) hold claims of the kind represented by that committee; and

(ii) are not appointed to the committee.” 11 U.S.C. § 1102(b)(3)(A). Bankruptcy Code section

1102(b)(3)(A) does not indicate how a creditors’ committee should provide “access to

information” to creditors nor does the associated legislative history provide any guidance.

        11.     As Bankruptcy Code section 1102(b)(3)(A) simply requires a creditors’

committee to “provide access to information,” yet sets forth no guidelines as to the type, kind

and extent of the information to be provided, the statute could be read as requiring a creditors’

committee to provide access to all information provided to it by any party, or developed through

the exercise of its investigative function, regardless of whether the information is confidential,

privileged, proprietary, or material non-public information and regardless of whether

disseminating such information implicates securities law disclosure requirements (where


3
    The Committee’s website can be found at https://cases.primeclerk.com/iheartcommittee.


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applicable). The legislative history for Bankruptcy Code section 1102 does not provide any

further guidance on this point and merely reiterates that language of section 1102(b)(3). See

H.R. Rep. No. 109-31, 109th Cong., 1st Sess. 87 (2005) (“Section 405(b) requires the committee

to give creditors having claims of the kind represented by the committee access to information.

In addition, the committee must solicit and receive comments from these creditors and, pursuant

to court order, make additional reports or disclosures available to them.”).

        12.    The lack of specificity in Bankruptcy Code section 1102(b)(3)(A) is a potential

source of confusion for creditors and creditors’ committees. Here, as is typical in most chapter

11 cases, the Committee already has received and expects to continue to receive confidential and

other non-public proprietary information from the Debtors and other parties in interest. This

information likely will be used for, among other things, valuing assets, understanding the

Debtors’ operations, analyzing potential claims and causes of action, and consideration of

restructuring proposals. However, a creditor taking an extreme view of Bankruptcy Code section

1102(b)(3)(A) might argue that section 1102(b)(3)(A) requires the Committee to share another

party’s (including the Debtors’) confidential information that such creditor would not be able to

obtain otherwise. Such an interpretation has a strong potential to chill information sharing

between stakeholders and hinder the restructuring process to the detriment of all parties in

interest.

        13.    Moreover, Bankruptcy Code section 1102(b)(3)(A) also could be read to permit

the disclosure of attorney-client privileged information or information protected by any other

applicable privilege or doctrine. Such a reading of the statute raises the question of whether the

Committee could be required to disclose another party’s or its own privileged information. An

obligation to disseminate privileged information or Confidential Committee Information would



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limit the Committee Professionals’ ability to communicate effectively with and advise the

Committee, thereby reducing the benefit that active Committee engagement brings to the

administration of these cases.

       14.      The Committee seeks to avoid the foregoing issues as well as any other potential

issues that could arise by implementing the following Creditor Information Protocol through the

Proposed Order:

             a. Privileged and Confidential Information: The Committee shall not be required to
                disseminate to any entity (all references to “entity” herein shall be as defined in
                Bankruptcy Code section 101(15)) (i) without further order of the Court,
                Confidential Debtor Information, Confidential Committee Information or
                confidential and non-public proprietary information from other parties
                (“Confidential Non-Debtor Information” and, collectively with Confidential
                Debtor Information and Confidential Committee Information, the “Confidential
                Information”) or (ii) any information subject to attorney-client or some other
                state, federal, or other jurisdictional law privilege (including attorney-work
                product), whether such privilege is solely controlled by the Committee or is a
                joint or common interest privilege with Debtors or some other party (collectively,
                the “Privileged Information”). In addition, the Committee shall not be required to
                provide access to information or solicit comments from any entity that has not
                demonstrated to the satisfaction of the Committee, in its sole discretion, or to the
                Court, that it holds a claim of the kind described in Bankruptcy Code section
                1102(b)(3).

             b. Information Obtained Through Discovery: Any information received (formally or
                informally) pursuant to Bankruptcy Rule 2004 or in connection with any formal
                or informal discovery in any contested matter, adversary proceeding, or other
                litigation shall not be governed by any order entered with respect to this Motion
                but, rather, by any order governing such discovery. The Committee shall not be
                obligated to provide any information the Committee obtains from third parties.

             c. Creditor Information Requests: If a creditor (a “Requesting Creditor”) submits a
                written request to the Committee or its professionals (an “Information Request”)
                for the Committee to disclose information, pursuant to Bankruptcy Code section
                1102(b)(3)(A), the Committee shall, as soon as reasonably practicable, but no
                more than thirty (30) days after receipt of the Information Request, provide a
                response to the Information Request (a “Response”), including providing access
                to the information requested or the reasons the Committee cannot disclose the
                information requested by such Information Request. If the Response is to deny
                the Information Request because the Committee believes the Information Request
                implicates Confidential Information or Privileged Information that need not be
                disclosed, including, but not limited to, (i) pursuant to the terms of this Order or

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      otherwise under Bankruptcy Code section 1102(b)(3)(A), (ii) because such
      disclosure is prohibited under applicable law, (iii) because such information was
      obtained by the Committee pursuant to an agreement to maintain it as
      confidential, or (iv) that the Information Request is unduly burdensome, the
      Requesting Creditor may, after a good faith effort to meet and confer with an
      authorized representative of the Committee regarding the Information Request
      and the Response, seek to compel such disclosure for cause pursuant to a motion.
      Such motion shall be properly served, including on the Debtors and the
      Committee Professionals, and the hearing on such motion shall be noticed and
      scheduled. Nothing shall preclude the Requesting Creditor from requesting (or
      the Committee objecting to such request) that the Committee provide the
      Requesting Creditor a log or other index of any information specifically
      responsive to the Requesting Creditor’s request that the Committee deems to be
      Confidential Information or Privileged Information. Further, the Requesting
      Creditor will be permitted to request that the Court conduct an in camera review
      of information that the Committee sets forth in the Response that it cannot share.

   d. Release of Confidential Information of Third Parties: If the Information Request
      implicates Confidential Debtor Information or Confidential Non-Debtor
      Information and the Committee agrees that such request should be satisfied, or if
      the Committee without a third party request wishes to disclose such Confidential
      Information to creditors, the Committee may request (a “Demand”) for the benefit
      of the Debtors’ creditors: (i) if the Confidential Information is Confidential
      Debtor Information, by submitting a written request to counsel for the Debtors,
      requesting that such information be disclosed and (ii) if the Confidential
      Information is Confidential Non-Debtor Information, by submitting a written
      request to such third party and its counsel of record, with a copy to the Debtors’
      counsel, that such information be disclosed. If the Debtor or other entity does not
      agree in writing within ten (10) days after receipt of the Demand to disclose such
      information, the Committee or the Requesting Creditor may file a motion seeking
      a ruling with respect to the Demand, and the Debtors or such other entity, as
      applicable, may file an objection to such motion on any basis. Demands
      submitted to counsel to the Debtors pursuant to this clause (d) shall be submitted
      by email to: Anup Sathy (anup.sathy@kirkland.com), Christopher Marcus
      (christopher.marcus@kirkland.com)                and        Will          Guerrieri
      (will.guerrieri@kirkland.com). The Committee will not be authorized to disclose
      Confidential Debtor Information or Confidential Non-Debtor Information absent
      an agreement in writing from the Debtors (or their professional advisors) or such
      third party, as applicable, or further order of the Court.

   e. The Committee (or its members and representatives) will not be precluded from
      discussing commonly-received Confidential Information (and sharing analyses or
      other documents generated by the Committee based on such commonly-received
      Confidential Information) with any other party in interest in the Debtors’ chapter
      11 cases and/or its advisor(s) that have signed a confidentiality agreement similar
      to the confidentiality agreement entered into between the Committee and the
      Debtors or any other party.

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       15.     The Proposed Order would also permit, but not require, the Committee to provide

access to Privileged Information to any party so long as the relevant privilege was held and

controlled solely by the Committee and did not include Confidential Debtor Information or

Confidential Non-Debtor Information.

       16.     The Committee believes that granting the relief requested herein will ensure

efficient administration of these cases and active Committee engagement.         Moreover, it is

consistent with the language of the Bankruptcy Code. Congress did not intend for a creditors’

committee to be required to provide unfettered access to every type and kind of information that

a creditors’ committee receives from another party as that would result in Bankruptcy Code

section 1102(b)(3) frustrating other provisions of the Bankruptcy Code and Bankruptcy Rules,

including Bankruptcy Code section 107(b) and Bankruptcy Rule 9018.

       17.     Bankruptcy Code section 107(b)(1) provides that “on request of a party in

interest, the bankruptcy court shall . . . protect an entity with respect to a trade secret or

confidential research, development, or commercial information.” The language of Bankruptcy

Code section 107(b)(1) is mandatory, not permissive. Video Software Dealers Ass’n v. Orion

Pictures Corp., 21 F.3d 24, 27 (2d Cir. 1994) (providing that the protections of section 107(b)(1)

are mandatory upon request).      The plain language of the Bankruptcy Code mandates that

confidential information be protected.

       18.     Bankruptcy Rule 9018 further supports an interpretation of section 1102(b)(3) that

does not require creditors’ committees to disseminate confidential or privileged information or

materials. Bankruptcy Rule 9018 states, in relevant part, that “[o]n motion or on its own

initiative, with or without notice, the court may make any order which justice requires (1) to

protect the estate or any entity in respect of a trade secret or other confidential research,



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development, or commercial information . . . .” Fed. R. Bankr. P. 9018. Bankruptcy Rule 9018

goes a step further than Bankruptcy Code section 107(b)(1)—the rule expressly allows a court to

act on its own initiative.

        19.     Finally, Bankruptcy Code section 105(a) empowers the Court to “issue any

order . . . that is necessary or appropriate to carry out the provisions of this title.”        The

Committee submits the requested relief is both necessary for the Committee to fulfill its

obligations as set forth under Bankruptcy Code section 1103(c) and appropriate in light of

Bankruptcy Code section 107(b)(1), Bankruptcy Rule 9018, and the equitable considerations of

efficient case administration.

        20.     The Creditor Information Protocol sets forth narrowly tailored rules designed to

protect the interests of the Debtors, the Committee, and affected creditors while permitting

reasonable access to information for the Debtors’ unsecured creditors. The relief requested also

ensures the proper functioning of the chapter 11 process and open informal discovery and due

diligence. Bankruptcy courts in this District routinely grant relief similar to the relief requested

by this Motion. See, e.g., Cobalt International Energy, et al., Case No. 17-36709 (Bankr. S.D.

Tex. Jan. 11, 2018); Seadrill Limited, et al., Case No. 17-600079 (Bankr. S.D. Tex. Dec. 12,

2017); In re Ignite Restaurant Group Inc., et al., Case No. 17-33550 (Bankr S.D. Tex. Aug. 17,

2017); In re LINN Energy, LLC, Case No. 16-60040 (Bankr. S.D. Tex. Aug. 25, 2016); In re

Autoseis, Inc., Case No. 14-20130 (Bankr. S.D. Tex. June 5, 2014); In re ATP Oil & Gas Corp.,

Case No. 12-36187 (Bankr. S.D. Tex. Nov. 29, 2012).

                                     NO PRIOR REQUEST

        21.     No prior request for the relief sought in this Motion has been made to this or any

other court.



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        WHEREFORE, the Committee respectfully requests that the Court (i) enter the Proposed

Order, substantially in the form attached hereto as Exhibit A and (ii) grant the Committee such

other and further relief as is just, proper and equitable.


Dated: April 19, 2018                           Respectfully Submitted,

                                                AKIN GUMP STRAUSS HAUER & FELD LLP

                                                 /s/ Charles R. Gibbs
                                                Charles R. Gibbs (State Bar No. 07846300; S.D.
                                                Tex. No. 177)
                                                Marty L. Brimmage, Jr. (State Bar No. 00793386;
                                                S.D. Tex. No. 30464)
                                                1700 Pacific Avenue, Suite 4100
                                                Dallas, TX 75201
                                                Telephone: (214) 969-2800
                                                Facsimile: (214) 969-4343
                                                Email: cgibbs@akingump.com
                                                        mbrimmage@akingump.com

                                                -and-

                                                Ira S. Dizengoff (admitted pro hac vice)
                                                Philip C. Dublin (admitted pro hac vice)
                                                Naomi Moss (admitted pro hac vice)
                                                One Bryant Park
                                                New York, NY 10036
                                                Telephone: (212) 872-1000
                                                Facsimile: (212) 872-1002
                                                Email: idizengoff@akingump.com
                                                        pdublin@akingump.com
                                                        nmoss@akingump.com

                                                Proposed Counsel to the Official Committee of
                                                Unsecured Creditors of iHeartMedia, Inc., et al.




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                                 CERTIFICATE OF SERVICE

        I hereby certify that, on April 19, 2018, I caused a true and correct copy of the foregoing
to be served via email through the Court’s Electronic Case Filing System on the parties that have
consented to such service.


                                                     /s/ Charles R. Gibbs
                                                     Charles R. Gibbs
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                            Exhibit A

                          Proposed Order
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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION
                                                                     )
In re:                                                               )   Chapter 11
                                                                     )
IHEARTMEDIA, INC., et al., 1                                         )   Case No. 18-31274 (MI)
                                                                     )
                           Debtors.                                  )   (Jointly Administered)
                                                                     )
                                                                     )   Re: Docket No. [__]

ORDER CLARIFYING THE COMMITTEE’S REQUIREMENT TO PROVIDE ACCESS
 TO CONFIDENTIAL OR PRIVILEGED INFORMATION AND ESTABLISHING A
    PROTOCOL REGARDING CREDITOR REQUESTS FOR INFORMATION

         Upon the motion (the “Motion”) 2 of the Official Committee of Unsecured Creditors (the

“Committee”) of iHeartMedia, Inc., et al. (collectively, the “Debtors”) for entry of an order (this

“Order”), pursuant to sections 105(a), 107(b), and 1102(b)(3)(A) and (B) of title 11 of the United

States Code (the “Bankruptcy Code”) and Rule 9018 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), clarifying the requirements of the Committee to provide

access to confidential or privileged information to creditors and approving a protocol regarding

the same; and this Court having jurisdiction over this matter pursuant to 28 U.S.C. § 1334 and

the Standing Order; and this Court having found that this is a core proceeding pursuant to

28 U.S.C. § 157(b)(2); and this Court having found that it may enter a final order consistent with

Article III of the United States Constitution; and this Court having found that venue of this

proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and

1
    Due to the large number of Debtors in these chapter 11 cases, for which joint administration has been granted, a
    complete list of the Debtors and the last four digits of their tax identification, registration, or like numbers is not
    provided herein. A complete list of such information may be obtained on the website of the Debtors’ claims
    and noticing agent at https://cases.primeclerk.com/iheartmedia.
2
    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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this Court having found that the relief requested in the Motion is in the best interests of the

Debtors’ estates, their creditors, and other parties in interest; and this Court having found that the

notice of the Motion and opportunity for a hearing on the Motion were appropriate under the

circumstances and no other notice need be provided; and this Court having reviewed the Motion;

and this Court having determined that the legal and factual bases set forth in the Motion establish

just cause for the relief granted herein; and upon all of the proceedings had before this Court; and

after due deliberation and sufficient cause appearing therefor, it is HEREBY ORDERED

THAT:

       1.      The relief requested in the Motion is granted, effective nunc pro tunc to March

21, 2018.

       2.      The Committee shall implement the following protocol for providing access to

information for creditors (the “Creditor Information Protocol”) in accordance with Bankruptcy

Code sections 1102(b)(3)(A) and (B):

            a. Privileged and Confidential Information: The Committee shall not be required to
               disseminate to any entity (all references to “entity” herein shall be as defined in
               Bankruptcy Code section 101(15)) (i) without further order of the Court,
               Confidential Information or (ii) any Privileged Information. In addition, the
               Committee shall not be required to provide access to information or solicit
               comments from any entity that has not demonstrated to the satisfaction of the
               Committee, in its sole discretion, or to the Court, that it holds a claim of the kind
               described in Bankruptcy Code section 1102(b)(3).

            b. Information Obtained Through Discovery: Any information received (formally or
               informally) by the Committee pursuant to Bankruptcy Rule 2004 or in connection
               with any formal or informal discovery in any contested matter, adversary
               proceeding, or other litigation shall not be governed by this Order but, rather, by
               such other order governing such discovery. Nothing herein shall obligate the
               Committee to provide any information the Committee obtains from third parties.

            c. Creditor Information Requests: If a creditor (a “Requesting Creditor”) submits a
               written request to the Committee or its professionals (an “Information Request”)
               for the Committee to disclose information, pursuant to Bankruptcy Code section
               1102(b)(3)(A), the Committee shall, as soon as reasonably practicable, but no
               more than thirty (30) days after receipt of the Information Request, provide a

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      response to the Information Request (a “Response”), including providing access
      to the information requested or the reasons the Committee cannot disclose the
      information requested by such Information Request. If the Response is to deny
      the Information Request because the Committee believes the Information Request
      implicates Confidential Information or Privileged Information that need not be
      disclosed, including, but not limited to, (i) pursuant to the terms of this Order or
      otherwise under Bankruptcy Code section 1102(b)(3)(A), (ii) because such
      disclosure is prohibited under applicable law, (iii) because such information was
      obtained by the Committee pursuant to an agreement to maintain it as
      confidential, or (iv) that the Information Request is unduly burdensome, the
      Requesting Creditor may, after a good faith effort to meet and confer with an
      authorized representative of the Committee regarding the Information Request
      and the Response, seek to compel such disclosure for cause pursuant to a motion.
      Such motion shall be properly served, including on the Debtors and the
      Committee Professionals, and the hearing on such motion shall be noticed and
      scheduled. Nothing herein shall be deemed to preclude the Requesting Creditor
      from requesting (or the Committee objecting to such request) that the Committee
      provide the Requesting Creditor a log or other index of any information
      specifically responsive to the Requesting Creditor’s request that the Committee
      deems to be Confidential Information or Privileged Information. Further, nothing
      herein shall be deemed to preclude the Requesting Creditor from requesting that
      the Court conduct an in camera review of the information subject to such
      Information Request.

   d. Release of Confidential Information of Third Parties: If the Information Request
      implicates Confidential Debtor Information or Confidential Non-Debtor
      Information and the Committee agrees that such request should be satisfied, or if
      the Committee without a third party request wishes to disclose such Confidential
      Information to creditors, the Committee may request (a “Demand”) for the benefit
      of the Debtors’ creditors: (i) if the Confidential Information is Confidential
      Debtor Information, by submitting a written request to counsel for the Debtors,
      requesting that such information be disclosed and (ii) if the Confidential
      Information is Confidential Non-Debtor Information, by submitting a written
      request to such third party and its counsel of record, with a copy to the Debtors’
      counsel, that such information be disclosed. If the Debtor or such other entity
      does not agree in writing within ten (10) days after receipt of the Demand to
      disclose such information, the Committee or the Requesting Creditor may file a
      motion seeking a ruling with respect to the Demand, and the Debtors or such
      other entity, as applicable, may file an objection to such motion, including on the
      basis that any information provided to creditors should be done so only pursuant
      to an order of the Court requiring that such information remain confidential.
      Demands submitted to counsel to the Debtors pursuant to this clause (d) shall be
      submitted by email to: Anup Sathy (anup.sathy@kirkland.com), Christopher
      Marcus        (christopher.marcus@kirkland.com)         and     Will      Guerrieri
      (will.guerrieri@kirkland.com). Nothing herein authorizes the Committee to
      disclose Confidential Debtor Information or Confidential Non-Debtor Information


                                       3
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               absent an agreement in writing from the Debtors (or their professional advisors)
               or such other party, as applicable, or further order of the Court.

            e. Nothing herein precludes the Committee (or its members and representatives)
               from discussing commonly-received Confidential Information (and sharing
               analyses or other documents generated by the Committee based on such
               commonly-received Confidential Information) with any other party in interest in
               the Debtors’ chapter 11 cases and/or its advisor(s) that have signed a
               confidentiality agreement similar to the confidentiality agreement entered into
               between the Committee and the Debtors or any other party, as applicable.

       3.      The Committee shall not be required pursuant to Bankruptcy Code section

1102(b)(3)(A) to provide access to any Confidential Information to any creditor with a claim of

the kind represented by the Committee except as provided in the Creditor Information Protocol.

       4.      The Committee shall not be required pursuant to Bankruptcy Code section

1102(b)(3)(A) to provide access to any Privileged Information to any creditor with a claim of the

kind represented by the Committee. Nonetheless, the Committee shall be permitted, but not

required, to provide access to Privileged Information or Confidential Committee Information to

any party so long as (a) such Privileged Information or Confidential Committee Information does

not include any Confidential Debtor Information or Confidential Non-Debtor Information and

(b) any relevant privilege is held and controlled solely by the Committee.

       5.      Nothing in this Order shall diminish or modify the rights and obligations of the

Committee or its members and representatives under the Committee by-laws or any

confidentiality agreement entered into with the Debtors or any other party (including the

Committee’s or its member’s and representative’s rights to disclose Confidential Information as

permitted under such confidentiality agreement), which rights and obligations shall remain in full

force and effect notwithstanding any provision of this Order.

       6.      None of the Debtors, the Committee, or any of their respective directors, officers,

employees, members, attorneys, consultants, advisors, and agents (acting in such capacity)


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(collectively, the “Exculpated Parties”), shall have to incur any liability to any entity (including

the Debtors and their affiliates) for any act taken or omitted to be taken pursuant to the Creditor

Information Protocol set forth herein; provided, however, that the foregoing shall not affect the

liability of any Exculpated Party protected pursuant to this paragraph that otherwise would result

from any such act or omission to the extent that such act or omission is determined in a final

non-appealable order to have constituted a breach of fiduciary duty, gross negligence, or willful

misconduct, including, without limitation, fraud and criminal misconduct, or the breach of any

confidentiality agreement or order. Without limiting the foregoing, the exculpation provided in

this paragraph shall be coextensive with any Exculpated Party’s qualified immunity under

applicable law.

       7.      The Committee is hereby authorized to establish and maintain a website as

described in the Motion.

       8.      The Committee is further authorized to engage Prime Clerk LLC (“Prime Clerk”)

in connection with such website for the benefit of creditors. Any costs, expenses, or fees

charged by Prime Clerk on account of such website will be included in the invoices submitted by

Prime Clerk to the Debtors pursuant to the Order Authorizing Retention and Appointment of

Prime Clerk LLC as Claims, Noticing and Solicitation Agent [Docket No. 115] and shall be paid

according to the procedures therein.

       9.      Nothing in this Order shall expand, restrict, affirm, or deny the right or obligation,

if any, of the Committee to provide access or not provide access to any information of the

Debtors to any party except as explicitly provided herein.




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       10.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.



Dated: __________, 2018
                                                  THE HONORABLE MARVIN ISGUR
                                                  UNITED STATES BANKRUPTCY JUDGE




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